Case 2:15-cr-20507-DPH-DRG ECF No. 48, PageID.364 Filed 07/27/20 Page 1 of 13




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                        CASE NO. 15-20507
                                               HON. DENISE PAGE HOOD
v.

GARY EUGENE JACKSON,

             Defendant.
                                     /

                     ORDER GRANTING PETITION
               FOR COMPASSIONATE RELEASE [ECF No. 40]

I.    Introduction

      On May 16, 2020, Defendant filed a Petition for Compassionate Release (the

“Motion”) [ECF No. 40], pursuant to the First Step Act of 2018 and 18 U.S.C. §

3582(c)(1)(A)(i).   Defendant asks the Court to modify his 48-month term of

imprisonment to time served and to impose a special condition that he serve a period

of home confinement on supervised release. The Government has filed a response in

opposition to Defendant’s Motion, and Defendant has filed a reply.

II.   Background

      A.     Defendant’s Criminal Activity

      Between 2010 and 2014, Defendant was the leader of a conspiracy that

possessed with the intent to distribute or distributed five kilograms or more of cocaine
Case 2:15-cr-20507-DPH-DRG ECF No. 48, PageID.365 Filed 07/27/20 Page 2 of 13



and one kilogram or more of heroin. To facilitate his drug trafficking, Defendant used

and carried firearms, including at least one stolen weapon. Defendant’s guideline

range was 135-168 months. Because he provided substantial assistance in another

investigation, however, the Government filed a motion for downward departure. The

Court granted the motion, departed downward below the Government’s

recommendation of 76 months, and sentenced Defendant to 48 months imprisonment.

Defendant began serving his sentence on August 22, 2017. Defendant’s projected

release date is February 12, 2021, and he is scheduled to be transferred to a residential

reentry center (“RRC”) on August 18, 2020. Following his release, Defendant is

subject to 60 months of supervised release. He is currently incarcerated at FCI Elkton

in Lisbon, Ohio.

      B.     Defendant’s Medical Conditions

      Defendant cites his age (57 years old) and the fact that he suffers from diabetes

and high blood pressure. In his reply brief, Defendant notes that:

      At the time of sentencing, Defendant was, inter alia, 57 years of age,
      obese, hypertensive with cardiovascular issues, with a breathing
      disorder, and microcytosis (constricted blood cells). In paragraph 42 of
      Defendant’s Presentence Investigation Report, pretrial services stated:

             The defendant is 5’9” tall, weighs 218 pounds, and has
             brown eyes and black hair. JACKSON suffers from high
             blood pressure, high cholesterol, diabetes, gout, and
             hemorrhoids. As a result, he takes the following
             medications: 100 milligrams of Cozaar per day for his

                                           -2-
Case 2:15-cr-20507-DPH-DRG ECF No. 48, PageID.366 Filed 07/27/20 Page 3 of 13



             high blood pressure, two milligrams of Amaryl per day
             for his diabetes, ten milligrams of Bystolic per day for
             his high blood pressure, five milligrams of Tradjenta per
             day for his diabetes, 10 milligrams of Jardiance per day for
             his diabetes, and 2000 international units (IU) of Vitamin
             D per day. The defendant denied any allergies. Currently,
             JACKSON is under the care of Dr. Steven M. Katzman.
             The probation department received medical records from
             Dr. Kat[z]man’s office, which confirm the health conditions
             listed above. However, the records also include the
             following health concerns: microcytosis, a condition in
             which the red blood cells are unusually small; obesity;
             and rare dyspnea, a condition in which a person
             struggles to breath[e].

Defendant’s Reply Brief, at 6 (citing Presentence Investigation Report, at 11)

(emphasis added).

      C.     BOP Actions Related to Defendant’s Release

      Prior to the Motion being filed on May 16, 2020, Defendant was moved to a

quarantine unit inside FCI Elkton as a prisoner who qualified for early release based

on his term of incarceration, age, and medical conditions. After Defendant filed the

Motion and the Government responded, the Court was advised by the Probation

Department that the BOP would be releasing Defendant on June 24, 2020 due to

Covid-19. When the Court inquired of the parties on June 25, 2020 whether

Defendant had been released, the Court was advised that “[u]nder its new guidelines

relating to Covid,” the BOP was not placing Defendant on home confinement and the

“BOP now plans to Release Mr. Jackson to an RRC on August 1[8], 2020.” As

Defendant states in his reply, that release date to an RRC is the original date upon
Case 2:15-cr-20507-DPH-DRG ECF No. 48, PageID.367 Filed 07/27/20 Page 4 of 13



which Defendant has been scheduled to be released to an RRC.

III.   Analysis

       As amended by the First Step Act, 18 U.S.C. § 3582(c)(1)(A) authorizes courts

to modify terms of imprisonment as follows (emphasis added):

             The court may not modify a term of imprisonment once it
             has been imposed except that—in any case—the court,
             upon motion of the Director of the Bureau of Prisons, or
             upon motion of the defendant after the defendant has
             fully exhausted all administrative rights to appeal a failure
             of the Bureau of Prisons to bring a motion on the
             defendant’s behalf or the lapse of 30 days from the receipt
             of such a request by the warden of the defendant’s facility,
             whichever is earlier, may reduce the term of
             imprisonment (and may impose a term of probation or
             supervised release with or without conditions that does
             not exceed the unserved portion of the original term of
             imprisonment), after considering the factors set forth in
             section 3553(a) to the extent that they are applicable, if it
             finds that--

                   (i) extraordinary and compelling reasons warrant
                   such a reduction ... and that such a reduction is
                   consistent with applicable policy statements issued
                   by the Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A)(i) therefore requires that a defendant must satisfy both the

exhaustion requirement and demonstrate that “extraordinary and compelling reasons”

warrant a reduction of his sentence.

       It is undisputed that Defendant has exhausted his administrative remedies. On

April 8, 2020, he asked the warden for compassionate release based on Covid-19 and

                                          -4-
Case 2:15-cr-20507-DPH-DRG ECF No. 48, PageID.368 Filed 07/27/20 Page 5 of 13



his diabetes/high blood pressure and that request was denied.

       A.       Extraordinary and Compelling Reasons

       The United States Sentencing Commission has defined “extraordinary and

compelling reasons.” See U.S.S.G. § 1B1.13, comment n.1. There are extraordinary

and compelling reasons for modification where “[t]he defendant is ... suffering from

a serious physical or medical condition ... that substantially diminishes the ability to

provide self-care within the environment of a correctional facility and from which he

or she is not expected to recover.” U.S.S.G. § 1B1.13 comment n.1(A)(ii).

       The Government contends that Defendant’s medical conditions do not satisfy

the requirements in U.S.S.G. § 1B1.13(1)(A) & cmt. n.1, but the Court disagrees.

Defendant suffers from diabetes and high blood pressure. The World Health

Organization and the Center for Disease Control both recognize that diabetes

constitutes an underlying health condition that presents a severe health risk to a person

if   infected    with   Covid-19.    See,    e.g.,   https://www.cdc.gov/coronavirus/

2019-ncov/need-extra-precautions/people-with-medical-

conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavir

us%2F2019-ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html (July 7,

2020)(“CDC          Guidelines”);       https://www.who.int/westernpacific/

emergencies/covid-19/information/high-risk-groups          (July   7,   2020)   (“WHO



                                            -5-
Case 2:15-cr-20507-DPH-DRG ECF No. 48, PageID.369 Filed 07/27/20 Page 6 of 13



Guidelines”). Persons with high blood pressure might be at an increased risk of severe

illness if they contract Covid-19. See CDC Guidelines. The Court also notes that the

Presentence Investigation Report specifies that one doctor diagnosed Defendant with

“obesity and rare dyspnea, a condition in which a person struggles to breath[e],” both

of which would constitute health conditions that heighten the risk of severe illness in

the event of a Covid-19 infection. Id. Finally, although Defendant is not over 60

(another risk factor), he is nearly 60. Id.; WHO Guidelines.

      The Court finds that Defendant is among those persons most at risk. This Court

and others have held that compassionate release is justified under such conditions.

See, e.g., United Statest v. Saad, No. 16-20197, ECF No. 66 (E.D. Mich. May 12,

2020); United States v. Doshi, No. 13-20349, ECF No. 145 (E.D. Mich. Mar. 31,

2020) (recommending that the BOP release 64 year old defendant with diabetes and

hypertension to home confinement); Perez, 2020 WL 1546422, at *4 (the defendant

was at risk of experiencing serious complications from COVID-19 due to medical

complications arising from two vicious beatings while he was incarcerated); Colvin,

2020 WL 1613943, at *4 (D. Conn. Apr. 2, 2020) (finding “extraordinary and

compelling reasons justifying ... immediate release under Section 3582(c)(1)(A) and

U.S.S.G. § 1B1.13” where defendant has “diabetes, a serious medical condition which

substantially increases her risk of severe illness if she contracts COVID-19” (internal



                                          -6-
Case 2:15-cr-20507-DPH-DRG ECF No. 48, PageID.370 Filed 07/27/20 Page 7 of 13



quotation marks, citation, and alteration omitted)); Rodriguez, 2020 WL 1627331, at

*7 (granting compassionate release where defendant was “in the higher risk category

for developing more serious disease” if exposed to COVID-19 because he “has Type

2 diabetes mellitus with diabetic neuropathy, essential hypertension, obesity, and

abnormal liver enzymes in a pattern most consistent with non-alcoholic fatty liver

disease”) (internal quotation marks and citations omitted); United States v. Jepsen, 19

Civ. 73, 2020 WL 1640232, at *5 (D. Conn. Apr. 1, 2020) (granting compassionate

release to defendant who “is immunocompromised and suffers from multiple chronic

conditions that are in flux and predispose him to potentially lethal complications if he

contracts COVID-19”); United States v. Gonzalez, No. 18 Cr. 1536155, 2020 WL

1536155, at *3 (approving compassionate release where defendant “is in the most

susceptible age category (over 60 years of age) and her COPD and emphysema make

her particularly vulnerable”); United States v. Muniz, 09 Cr. 199, 2020 WL 1540325,

at *2 (finding extraordinary and compelling circumstances because “[d]efendant has

been diagnosed with serious medical conditions that, according to reports from the

Center[s] for Disease Control, make him particularly vulnerable to severe illness from

COVID-19 ... includ[ing] inter alia, end stage renal disease, diabetes, and arterial

hypertension.”); United States v. Campagna, No. 16 Cr. 78-01, 2020 WL 1489829,

at *3 (S.D.N.Y. Mar. 27, 2020) (approving compassionate release for defendant where



                                          -7-
Case 2:15-cr-20507-DPH-DRG ECF No. 48, PageID.371 Filed 07/27/20 Page 8 of 13



his “compromised immune system, taken in concert with the COVID-19 public health

crisis, constitutes an extraordinary and compelling reason to modify [d]efendant’s

sentence on the grounds that he is suffering from a serious medical condition that

substantially diminishes his ability to provide self-care”).

      For the reasons stated above, the Court finds that Defendant has demonstrated

that extraordinary and compelling reasons justify a modification of his term of

imprisonment.

      The Government asserts that, even if Defendant’s medical conditions and the

Covid-19 pandemic satisfy the initial criteria for eligibility in USSG § 1B1.13 cmt.

n.1, he remains ineligible for compassionate release because: (1) his offense and

criminal history make him a danger to the community, see U.S.S.G. § 1B1.13(2); and

(2) a weighing of the § 3553(a) factors support continued detention. The Government

argues that Section 1B1.13(2) only permits release if a “defendant is not a danger to

the safety of any other person or to the community, as provided in 18 U.S.C. §

3142(g)” and prohibits the release of violent offenders, including most drug dealers.

Citing United States v. Stone, 608 F.3d 939, 947-48 & n.6 (6th Cir. 2010).

      The Government believes that an evaluation of dangerousness under § 3142(g)

requires a comprehensive view of community safety—“a broader construction than

the mere danger of physical violence.” United States v. Cook, 880 F.2d 1158, 1161



                                          -8-
Case 2:15-cr-20507-DPH-DRG ECF No. 48, PageID.372 Filed 07/27/20 Page 9 of 13



(10th Cir. 1989) (per curiam). For that reason, it claims that many “non-violent”

offenders—such as those who have been involved in serial or significant fraud

schemes—may not be released under § 3582(c)(1)(A). USSG § 1B1.13(2); see Stone,

608 F.3d at 948 n.7. Finally, the Government contends that adhering to § 1B1.13(2)

is especially important given the current strain on society’s first responders and the

rise in certain types of crime during the Covid-19 pandemic. The Government notes

that police departments in many cities have been stretched to their limits as officers

have either contracted Covid-19 or been placed in quarantine and some cities,

including Detroit, have seen spikes in shootings and murders. For these reasons, the

Government claims that Defendant’s release would endanger the community and §

1B1.13(2) prohibits reducing his sentence under § 3582(c)(1)(A).

      The Court notes the Government’s position but finds that, in light of: (a) the

COVID-19 pandemic; (b) the enhanced health risks if Defendant remains incarcerated;

and (c) the manner in which Defendant’s release can be conditioned, a consideration

of his danger to the community and the § 3553(a) factors does not support continued

detention of Defendant. First, and most significantly, once released, Defendant will

be subject to home confinement with electronic location monitoring. During this

period of home confinement, between the electronic location monitoring and the other

conditions of his release, Defendant’s ability to commit a crime will be severely



                                         -9-
Case 2:15-cr-20507-DPH-DRG ECF No. 48, PageID.373 Filed 07/27/20 Page 10 of 13



diminished.

      Second, and for several reasons, granting Defendant’s release at this time is

unlikely to increase any danger to the community and may actually decrease any such

danger. The Court notes that, at one point, Defendant allegedly was going to be

released by the BOP two-three weeks ago and, even if the Court were to deny the

Motion, Defendant will be transferred to an RRC in less than six weeks. Because the

Court will be modifying his sentence to time served and requiring home confinement

subject to electronic location monitoring for a portion of his supervised release,

Defendant will have less freedom to be actively involved in the community than he

would be if transferred to an RRC on August 18, 2020.

      D.      Conclusion

      The BOP recently was allowed to “lengthen the maximum amount of time for

which [it] is authorized to place a prisoner in home confinement.” Coronavirus Aid,

Relief, and Economic Security Act (CARES Act), § 12003(b)(2), Pub. Law 116-136,

134 Stat 281, 516 (Mar. 27, 2020). The Attorney General has issued two directives

to the BOP ordering the Bureau of Prisons to use the “various statutory authorities to

grant home confinement for inmates seeking transfer in connection with the ongoing

COVID-19 pandemic.” (03-26-2020 Directive to BOP, at 1; 04-03-2020 Directive to

BOP, at 1). The statutory authorities include the requirements in 18 U.S.C. § 3624(c)



                                         -10-
Case 2:15-cr-20507-DPH-DRG ECF No. 48, PageID.374 Filed 07/27/20 Page 11 of 13



and (g) for home confinement in general, as well as the requirements in 34 U.S.C. §

60541(g) for some elderly and terminally ill offenders. The directives require the

Bureau of Prisons to identify the inmates most at risk from COVID-19 and “to

consider the totality of circumstances for each individual inmate” in deciding whether

home confinement is appropriate. (03-26-2020 Directive to BOP, at 1). Finally, the

directives instruct the Bureau of Prisons to consider “all at-risk inmates—not only

those who were previously eligible for transfer” into home confinement. (04-03-2020

Directive to BOP, at 2).

       For the reasons stated above, the Court grants Defendant’s Petition for

Compassionate Release pursuant to 18 U.S.C. § 3582(c)(1)(A). The Court reduces

Defendant’s sentence to time served, and the Court imposes a term of supervised

release equal to sixty months. In order to protect the public, if Defendant has not been

isolated or in quarantine for the 14 days preceding this Order, the BOP shall hold

Defendant for a 14-day quarantine (reduced by the number of days, if any, Defendant

has actively been in isolation and/or quarantine at the time the BOP receives this

Order) before releasing Defendant. Defendant also must self-quarantine for 14 days

after his release.

       Defendant shall serve the first seven (7) months of his new 60 month term of

supervised release under home confinement, with electronic location monitoring to



                                          -11-
Case 2:15-cr-20507-DPH-DRG ECF No. 48, PageID.375 Filed 07/27/20 Page 12 of 13



commence as soon as the Probation Department can safely install the necessary

electronic monitoring equipment and upon such other conditions as the Probation

Department deems necessary. The original 60 month period of supervised release is

canceled.

IV.   Conclusion

      Accordingly,

      IT IS ORDERED that Defendant’s Petition for Compassionate Release [ECF

No. 40] is GRANTED.

      IT IS FURTHER ORDERED that Defendant’s sentence of imprisonment is

reduced to time served.

      IT IS FURTHER ORDERED that the BOP shall the BOP shall hold Defendant

for a 14 day quarantine (reduced by the number of days, if any, Defendant has actively

been in quarantine at the time the BOP receives this Order), and Defendant shall

self-quarantine for 14 days after release.

      IT IS FURTHER ORDERED that, immediately upon release, Defendant shall

commence a new 60 month term of supervised release, with the first seven (7) months

of supervised release to served under home confinement, with electronic location

monitoring to commence as soon as the Probation Department can safely install the

necessary electronic monitoring equipment and upon such other conditions as the



                                         -12-
Case 2:15-cr-20507-DPH-DRG ECF No. 48, PageID.376 Filed 07/27/20 Page 13 of 13



Probation Department deems necessary.

      IT IS FURTHER ORDERED that, within 24 hours of release from BOP

custody, Defendant shall call the Probation Department to schedule an appointment.

      IT IS FURTHER ORDERED that Defendant’s original 60 month term of

supervised release imposed by the Court is canceled.

      IT IS ORDERED.


                                              s/Denise Page Hood
                                              DENISE PAGE HOOD
      Dated: July 27, 2020                    UNITED STATES DISTRICT JUDGE




                                       -13-
